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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION

 STATE OF LOUISIANA ET AL                               CASE NO. 1:21-CV-03867

 VERSUS                                                 JUDGE DRELL

 JOSEPH R BIDEN JR ET AL                                MAGISTRATE JUDGE PEREZ-MONTES

                                    MINUTES OF COURT:
                                Preliminary Injunction Hearing
  Date:               December 6, 2021 Presiding: Judge Dee D. Drell
  Court Opened:       1:27 p.m.           Courtroom Deputy: Greta Roaix
  Court Adjourned:    4:45 p.m.           Court Reporter:      Myra Primeaux
  Statistical Time:   03:48               Courtroom:          2nd Floor Courtroom

                                       APPEARANCES
  Elizabeth Baker Murrill & Josiah Kollmeyer For   All Plaintiffs
  Morgan Elizabeth Brungard & Tyler R        For   State of Louisiana, Plaintiff
  Green
  Madeline McMahon, Jerry Edwards & Kevin For      All Defendants
  Joseph Wynosky

                                       PROCEEDINGS

  Preliminary Injunction Hearing (rec. doc. 10 & 22 )


  Filings:      Witness List
                Exhibit List


  RULINGS/COMMENTS:

  The motion for preliminary injunction [ECF 10 & 22] is taken under advisement.
